          Case 1:13-cv-00734-RBW Document 166-3 Filed 06/14/19 Page 1 of 2




     Exhibit 2 to Plaintiff’s Second Supplemental
Application and Motion for Attorneys’ Fees, Costs, and
   Expenses under the Equal Access to Justice Act
  THE BOPP LAW FIRM, PC- Second Supplemental
           Application Costs and Expenses
                                Case 1:13-cv-00734-RBW Document 166-3 Filed 06/14/19 Page 2 of 2
                                            The Bopp Law Firm, PC Expenses for                                               1:13-cv-734-RBW
                                      Second Supplemental Application or Attorney's Fees

                                                      LSI
                                  LSI                Laffey
                                 Laffey   LSI Gross Adjusted
  Date      Name      Time        Rate    Amount    Amount        Description
                                                                 Cost advanced for LexisNexis computer assisted legal
6/3/2019 Expense    43 min                $ 129.00 $ 129.00 research--research D.C. case on hourly rates
                                                                 Cost advanced for LexisNexis computer assisted legal
6/5/2019 Expense        8 min              $ 24.00 $ 24.00 research--Research EAJA/LSI cases
                                                                 Cost advanced for Declaration in Support of our notice in
                                                                 the TTV fee petition--agreed upon Flat Fee from Expert
6/7/2019 Expense    1 min                 $ 3,000.00 $ 3,000.00 D.C. Attorney
                                                                 Cost advanced for LexisNexis computer assisted legal
6/8/2019 Expense        1 min              $     3.00 $     3.00 research--Research EAJA/LSI cases
                                                                 Cost advanced for LexisNexis computer assisted legal
6/9/2019 Expense        8 min              $ 24.00 $ 24.00 research--Research EAJA/LSI cases
                                                                 Cost advanced for LexisNexis computer assisted legal
6/10/2019 Expense       5 min              $ 15.00 $ 15.00 research--Research EAJA/LSI cases
                                                                 Cost advanced for LexisNexis computer assisted legal
6/11/2019 Expense       2 min              $     6.00 $     6.00 research--Research EAJA/LSI cases
                                                                 Cost advanced for LexisNexis computer assisted legal
6/12/2019 Expense       2 min              $     6.00 $     6.00 research--Research EAJA/LSI cases
Expense Subtotal                                      $ 3,207.00




Exhibit 2                                                             1 of 1
